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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

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________________________________________________
 ANTHONY T. FONTANEZ,                                   )
                                                        )
                         Plaintiff,                     )           CIVIL ACTION
            -vs-                                        )
                                                        )   CASE NO: 2:20-cv-20286-KSH-CLW
 MARCUS          O.     HICKS,      ESQ.,   FORMER )
 COMMISSIONER OF THE NEW JERSEY STATE )                            FIRST AMENDED
 DEPARTMENT OF CORRECTIONS, in his official )                 COMPLAINT, JURY DEMAND,
 and individual capacities, FORMER NORTHERN )               DEMAND TO IDENTIFY JOHN DOE
 STATE PRISON WARDEN STEVEN JOHNSON, in )                    DEFENDANTS, AND DEMAND TO
 his official and individual capacities, ASSISTANT )             PRESERVE EVIDENCE
 SUPERINTENDANT ANTHONY GANGI, in his )
 official and individual capacities, NORTHERN )
 STATE PRISON ADMINISTRATOR GEORGE )
 ROBINSON, in his official and individual capacities, )
 “JOHN        DOE”      ADMINISTRATOR        of    the )
 NORTHERN STATE PRISON, in his official and )
 individual capacities, LT. EMMANUEL YOUSSEF, in )
 his official and individual capacities, SGT. PAUL )
 ADAMSON, in his official and individual capacities,
 SGT. ERNESTO HERNANDEZ, in his official and
 individual capacities, LT. BRIAN SOBUN, in his
 official and individual capacities, SGT. QIANA
 ROBINSON, in her official and individual capacities,
 SGT. RICARDO WILLIAMS, in his official and
 individual capacities, CORRECTION OFFICER
 JEREMY BALTIMORE, in his official and individual
 capacities,     CORRECTION         OFFICER     CARL
 O’NEILL, in his official and individual capacities,
 CORRECTION OFFICER KENNY SOLAZANO, in
 his official and individual capacities, CORRECTION
 OFFICER CESAR MASCHANG, in his official and
 individual capacities, CORRECTION OFFICER
 ERIC OLEKA, in his official and individual capacities,
 CORRECTION OFFICER EDWIN SIMMONS, in his
 official and individual capacities, CORRECTION
 OFFICER WILLIAM GALLAGHER, in his official
 and individual capacities, CORRECTIONS OFFICER
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 RONDELL BRIGGS, in his official and individual
 capacities, CORRECTIONS OFFICER ALGENI
 POZO, in his official and individual capacities,
 CORRECTIONS OFFICER DARIUS COLLINS, in
 his official and individual capacities, CORRECTIONS
 OFFICER EUGENE VICK, in his official and
 individual capacities, CORRECTION OFFICER
 ROBERTO VILLAREAL, in his official and
 individual      capacities    and       CORRECTIONS
 OFFICERS JOHN DOES 1-10, in their official and
 individual capacities, (as yet unidentified persons or
 corrections officers acting in their official and
 individual capacities involved in the oversight,
 management, monitoring, supervision and care over
 FONTANEZ and/or who had personal involvement in
 the incident alleged in the complaint),

                          Defendants.______________


       Plaintiff, ANTHONY T. FONTANEZ (“FONTANEZ”), as and for his complaint

against Defendants, MARCUS O. HICKS, ESQ., FORMER COMMISSIONER OF THE

NEW JERSEY STATE DEPARTMENT OF CORRECTIONS, in his official and individual

capacities, FORMER NORTHERN STATE PRISON WARDEN STEVEN JOHNSON, in

his official and individual capacities, ASSISTANT SUPERINTENDANT ANTHONY

GANGI, in his official and individual capacities, NORTHERN STATE PRISON

ADMINISTRATOR GEORGE ROBINSON, in his official and individual capacities,

“JOHN DOE” ADMINISTRATOR of the NORTHERN STATE PRISON, in his/her official

and individual capacities, LT. EMMANUEL YOUSSEF, in his official and individual

capacities, SGT. PAUL ADAMSON, in his official and individual capacities,         SGT.

ERNESTO HERNANDEZ, in his official and individual capacities, LT. BRIAN SOBUN, in

his official and individual capacities, SGT. QIANA ROBINSON, in her official and

individual capacities, SGT. RICARDO WILLIAMS, in his official and individual capacities,

CORRECTION OFFICER JEREMY BALTIMORE, in his official and individual
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capacities, CORRECTION OFFICER CARL O’NEILL, in his official and individual

capacities, CORRECTION OFFICER KENNY SOLAZANO, in his official and individual

capacities, CORRECTION OFFICER CESAR MASCHANG, in his official and individual

capacities, CORRECTION OFFICER ERIC OLEKA, in his official and individual

capacities,   CORRECTION OFFICER EDWIN SIMMONS, in his official and individual

capacities,   CORRECTION OFFICER WILLIAM GALLAGHER, in his official and

individual capacities, CORRECTIONS OFFICER RONDELL BRIGGS, in his official and

individual capacities, CORRECTIONS OFFICER ALGENI POZO, in his official and

individual capacities, CORRECTIONS OFFICER DARIUS COLLINS, in his official and

individual capacities, CORRECTIONS OFFICER EUGENE VICK, in his official and

individual capacities, CORRECTION OFFICER ROBERTO VILLAREAL, in his official

and individual capacities and CORRECTIONS OFFICERS JOHN DOES 1-10, in their

official and individual capacities, (as yet unidentified persons or corrections officers acting

in their official and individual capacities involved in the oversight, management,

monitoring, supervision and care over FONTANEZ and/or who had personal involvement

in the incident alleged in the complaint), alleges as follows:

                                           PARTIES

        1. At    all   relevant   times   herein,   Plaintiff,   ANTHONY    T.   FONTANEZ

 (“FONTANEZ” or “Plaintiff”), was and is an inmate under the custodial care of the State of

 New Jersey, Department of Corrections, and currently incarcerated New Jersey State Prison,

 operated by the New Jersey State Department of Corrections (“DOC”) and located at 1300

 Stuyvesant Ave, Trenton, New Jersey 08618.




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       2.      At all relevant times herein Defendant, MARCUS O. HICKS, ESQ. (“HICKS”),

sued in his official and individual capacities, was the Commissioner of the New Jersey State

Department of Corrections or Acting Commissioner with a place of business at Whittlesey Road,

Trenton, Mercer County, New Jersey 08625, acting under color of law and within the scope of his

employment, who was the chief supervisory official and executive of the DOC, with direct

responsibility for development, promulgation, and implementation of policies and procedures

relating to the custody and care of prisoners housed at all correctional facilities within the DOC,

including Northern State Prison (“NSP”); policies and procedures relating to the supervision,

hiring, firing, disciplining, training and oversight of corrections officers employed by NSP; and

ensuring that Corrections Officers adhere to all Attorney General Guidelines and laws, including

but not limited to the United States Constitution and the New Jersey State Constitution.

        3.   At all relevant times herein Defendant, STEVEN JOHNSON (“JOHNSON”), sued

in his official and individual capacities, was the Warden of the NSP with a principal place of

business at 168 Frontage Road, Newark, New Jersey 07124, acting under color of law and within

the scope of his employment, who was responsible for operations as well as the custody and care

of inmates housed at NSP; the development, promulgation, and implementation of policies and

procedures relating to the custody and care of prisoners housed at NSP and the supervision,

hiring, firing, disciplining, training and oversight of corrections officers employed by NSP, in

particular having the duty to ensure that policies relating to the use of force and provision of

medical care were enforced as well as ensuring the submission of true and accurate reports.

        4.   At all relevant times herein defendant, ASSISTANT SUPERINTENDENT

ANTHONY GANGI, sued in his official and individual capacities, was an Administrator of the

NSP with a principal place of business at 168 Frontage Road, Newark, New Jersey 07124, acting



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under color of law and within the scope of his employment, who was responsible for operations as

well as the custody and care of inmates housed at NSP; the development, promulgation, and

implementation of policies and procedures relating to the custody and care of prisoners housed at

NSP and the supervision, hiring, firing, disciplining, training and oversight of corrections officers

employed by NSP, in particular having the duty to ensure that policies relating to the use of force

and provision of medical care were enforced and to ensure the proper submission of accurate and

truthful reports.

         5.   At    all   relevant   times   herein       defendant   NORTHEN   STATE      PRISON

ADMINISTRATOR GEORGE ROBINSON, sued in his official and individual capacities, was

an Administrator of the NSP with a principal place of business at 168 Frontage Road, Newark,

New Jersey 07124, acting under color of law and within the scope of his employment, who was

responsible for operations as well as the custody and care of inmates housed at NSP; the

development, promulgation, and implementation of policies and procedures relating to the

custody and care of prisoners housed at NSP and the supervision, hiring, firing, disciplining,

training and oversight of corrections officers employed by NSP, in particular having the duty to

ensure that policies relating to the use of force and provision of medical care were enforced and to

ensure the proper submission of accurate and truthful reports.

        6.      At all relevant times herein defendant “JOHN DOE” ADMINISTRATOR

(“THE ADMINISTRATOR”), sued in his official and individual capacities, was an

Administrator of the NSP with a principal place of business at 168 Frontage Road, Newark, New

Jersey 07124, acting under color of law and within the scope of his employment, who was

responsible for operations as well as the custody and care of inmates housed at NSP; the

development, promulgation, and implementation of policies and procedures relating to the



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custody and care of prisoners housed at NSP and the supervision, hiring, firing, disciplining,

training and oversight of corrections officers employed by NSP, in particular having the duty to

ensure that policies relating to the use of force and provision of medical care were enforced and to

ensure with the proper submission of accurate and truthful reports.

        7.      At all relevant times herein defendant LT. EMMANUEL YOUSSEF, sued in his

official and individual capacities was a supervisor and commanding officer at NSP with

supervisory authority and oversight over lesser ranking officers and corrections officers with

responsibility for enforcing and implementing policies and procedures relating to the custody and

care of prisoners housed at NSP, for ensuring safety and security at NSP, for operations and

management over the jail, including the enforcement and implementation of policy relating to the

use of force, the provision of medical care, and to ensure the proper submission of accurate and

truthful reports.

        8.      At all relevant times herein defendant SGT. PAUL ADAMSON, sued in his

official and individual capacities, was a supervisor at NSP with supervisory authority and

oversight over lesser ranking officers and corrections officers with responsibility for enforcing

and implementing policies and procedures relating to the custody and care of prisoners housed at

NSP, for ensuring safety and security at NSP, for operations and management over the jail,

including the enforcement and implementation of policy relating to the use of force, the provision

of medical care, and to ensure the proper submission of accurate and truthful reports.

        9.      At all relevant times herein defendant SGT. ERNESTO HERNANDEZ, sued in

his official and individual capacities, was a supervisor at NSP with supervisory authority and

oversight over lesser ranking officers and corrections officers with responsibility for enforcing

and implementing policies and procedures relating to the custody and care of prisoners housed at



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NSP, for ensuring safety and security at NSP, for operations and management over the jail,

including the enforcement and implementation of policy relating to the use of force, the provision

of medical care, and to ensure the proper submission of accurate and truthful reports.

       10.     At all relevant times herein defendant LT. BRIAN SOBUN, sued in his official

and individual capacities, was a supervisor and commanding officer at NSP with supervisory

authority and oversight over lesser ranking officers and corrections officers with responsibility

for enforcing and implementing policies and procedures relating to the custody and care of

prisoners housed at NSP, for ensuring safety and security at NSP, for operations and management

over the jail, including the enforcement and implementation of policy relating to the use of force,

the provision of medical care, and to ensure the proper submission of accurate and truthful

reports.

       11.     At all relevant times herein defendant SGT. QIANA ROBINSON, sued in her

official and individual capacities, was a supervisor     at NSP with supervisory authority and

oversight over lesser ranking officers and corrections officers with responsibility for enforcing

and implementing policies and procedures relating to the custody and care of prisoners housed at

NSP, for ensuring safety and security at NSP, for operations and management over the jail,

including the enforcement and implementation of policy relating to the use of force, the provision

of medical care, and to ensure the proper submission of accurate and truthful reports.

       12.     At all relevant times herein defendant SGT. RICARDO WILLIAMS, sued in his

official and individual capacities, was a supervisor     at NSP with supervisory authority and

oversight over lesser ranking officers and corrections officers with responsibility for enforcing

and implementing policies and procedures relating to the custody and care of prisoners housed at

NSP, for ensuring safety and security at NSP, for operations and management over the jail,



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including the enforcement and implementation of policy relating to the use of force, the provision

of medical care, and to ensure the proper submission of accurate and truthful reports.

       13.     At   all   relevant   times   herein   CORRECTION          OFFICER        JEREMY

BALTIMORE (“BALTIMORE”), sued in his official and individual capacities, was a

corrections officer on duty at NSP on January 6, 2019, responsible for the custody and care of

prisoners housed at NSP, including plaintiff FONTANEZ..

       14.     At all relevant times herein CORRECTION OFFICER CARL O’NEILL

(“O’NEILL”), sued in his official and individual capacities, was a corrections officer on duty at

NSP on January 6, 2019, responsible for the custody and care of prisoners housed at NSP,

including plaintiff FONTANEZ.

       15.     At all relevant times herein CORRECTION OFFICER KENNY SOLAZANO

(“SOLOZANO”), sued in his official and individual capacities, was a corrections officer on duty

at NSP on January 6, 2019, responsible for the custody and care of prisoners housed at NSP,

including plaintiff FONTANEZ.

       16.     At all relevant times herein CORRECTION OFFICER CESAR MASCHANG

(“MASCHANG”), sued in his official and individual capacities, was a corrections officer on duty

at NSP on January 6, 2019, responsible for the custody and care of prisoners housed at NSP,

including plaintiff FONTANEZ.

       17.     At all relevant times herein CORRECTION OFFICER ERIC OLEKA

(“OLEKA”), sued in his official and individual capacities, was a corrections officer on duty at

NSP on January 6, 2019, responsible for the custody and care of prisoners housed at NSP,

including plaintiff FONTANEZ.




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       18.    At all relevant times herein CORRECTION OFFICER EDWIN SIMMONS

(“SIMMONS”), sued in his official and individual capacities, was a corrections officer on duty at

NSP on January 6, 2019, responsible for the custody and care of prisoners housed at NSP,

including plaintiff FONTANEZ.

       19.    At    all   relevant   times   herein   CORRECTION        OFFICER       WILLIAM

GALLAGHER (“GALLAGHER”), sued in his official and individual capacities, was a

corrections officer on duty at NSP on January 6, 2019, responsible for the custody and care of

prisoners housed at NSP, including plaintiff FONTANEZ.

       20.    At all relevant times herein CORRECTIONS OFFICER RONDELL BRIGGS

(“BRIGGS”), sued in his official and individual capacities, was a corrections officer on duty at

NSP on January 6, 2019, responsible for the custody and care of prisoners housed at NSP,

including plaintiff FONTANEZ..

       21.    At all relevant times herein CORRECTIONS OFFICER ALGENI POZO

(“POZO”), sued in his official and individual capacities, was a corrections officer on duty at

NSP on November 18, 2018, responsible for the custody and care of prisoners housed at NSP,

including plaintiff FONTANEZ.

       22.    At all relevant times herein CORRECTIONS OFFICER DARIUS COLLINS

(“COLLINS”), sued in his official and individual capacities, was a corrections officer on duty

at NSP on November 18, 2018, responsible for the custody and care of prisoners housed at NSP,

including plaintiff FONTANEZ.

       23.    At all relevant times herein CORRECTIONS OFFICER EUGENE VICK

(“VICK”), sued in his official and individual capacities, was a corrections officer on duty at NSP




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 on November 18, 2018, responsible for the custody and care of prisoners housed at NSP,

 including plaintiff FONTANEZ.

        24.     At all relevant times herein CORRECTIONS OFFICER ROBERTO

 VILLAREAL (“VILLAREAL”), sued                   in his official and individual capacities, was a

 corrections officer on duty at NSP on November 18, 2018, responsible for the custody and care of

 prisoners housed at NSP, including plaintiff FONTANEZ.

        25.     CORRECTIONS OFFICERS JOHN DOES 1-10, in their official and

 individual capacities are as yet unidentified persons or corrections officers acting in their official

 and individual capacities involved in the oversight, management, monitoring, supervision and

 care over FONTANEZ and/or who had personal involvement in the incident alleged in the

 complaint.

        26.     Defendants HICKS, JOHNSON, GANGI, ROBINSON and JOHN DOE

 ADMINISTRATOR            may be      referred   to     collectively as   the   “POLICY      MAKER

 DEFENDANTS.”

        27.     Defendants YOUSSEF, ADAMSON, HERNANDEZ, SOBUN, ROBINSON

 and WILLIAMS may be referred to collectively as the “FIELD SUPERVISOR” or

 “SUPERVISORY DEFENDANTS.”

        28.     Defendants BALTIMORE, O’NEILL, SOLAZANO, MASCHANG, OLEKA,

 SIMMONS, GALLAGHER, BRIGGS, POZO, COLLINS, VICK and VILLAREAL may be

 referred to collectively as the “CORRECTION OFFICER DEFENDANTS.”

                                II. NATURE OF THE ACTION

        29.     FONTANEZ institutes this action for compensatory and punitive damages for the

 violation of both federal and state constitutional rights and pendent state claims in the use of



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 excessive force by corrections officers at the Northern State Prison on January 6, 2019, force that

 was arbitrary, capricious, brutal, and lacking in any justification or need to control or maintain

 safety at the jail.

         30.      Plaintiff further brings this action to recover damages for the violation of both

 federal and state constitutional rights and pendent state claims for the failure to provide proper

 medical attention along with the filing of false and inaccurate reports, specifically Special

 Custody and other reports evidencing a depraved indifference to the welfare and safety of

 Fontanez, and designed to deny him the right to pursue his claim as protected by the First

 Amendment to the U.S. Constitution and under Article I of the New Jersey Civil Rights Act by

 covering up the truth, as well as resulting in arbitrary and capricious charges leaving to unjustified

 punishment by jail officials.

         31.      Plaintiff   also   seeks   to   recover   damages     for   the   POLICYMAKER

 DEFENDANTS’ deliberate indifference to the constitutional rights of Plaintiff evidenced by their

 toleration and acquiescence of the use of random, unjustified and excessive force, in their failure

 to ensure that subordinates provided appropriate medical care to inmates, in their failure to ensure

 that truthful and accurate reports be filed, as well as their failure to properly hire, train, supervise

 and discipline corrections officers, many of whom have a history of abusing prisoners, as

 documented in prior lawsuits and, on information and belief, Internal Affairs investigations.

         32.      The unlawful actions and conduct of the defendants evidenced a depraved and

 deliberate indifference to the clearly established constitutional rights of FONTANEZ, protected

 and secured by the provisions of the First, Fourth, Fifth, Eighth and Fourteenth Amendments to

 the United States Constitution and under the laws of the United States, brought pursuant to the

 Civil Rights Act, Title 42 of the United States Code, § 1983.



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        33.     This action is also brought pursuant to the New Jersey Civil Rights Act, Title 10 of

 the New Jersey Statutes for violations under the New Jersey Constitution, Article 1, §1, as well

 as state causes of action sounding in negligence, assault/battery, intentional infliction of

 emotional distress and civil conspiracy.

        34.      As a direct and proximate result of the constitutional violations and negligence

 FONTANEZ suffered severe injuries, including but not limited to a broken right ankle requiring

 open reduction surgery, a broken nose, fractured ribs, facial and other injuries, along with post-

 traumatic stress disorder and emotional distress..

                                        III. JURISDICTION

        35.      This Court has jurisdiction pursuant to Title 28 of the United States Code,

 §§1331, 1332, 1343 (2), 1343 (3), 1343 (4), and Title 42 of the United States Code, Section 1983,

 as well as pendent jurisdiction under 28 U.S.C. §1367 to adjudicate Plaintiff’s causes of action on

 the state and common law claims.

        36.     In addition, Plaintiff seeks attorney’s fees and costs pursuant to 42 U.S.C. §1988

 for his federal claims and N.J.S.A. 10:5-27.1, N.J.S.A. 10:6-2(c) and N.J.S.A. 34:19-5(c) for his

 state law claims.

        37.     Venue is properly laid in the United States District Court of the District of New

 Jersey pursuant to Title 28, United States Code §1391 (b) in that all of the acts complained of

 herein occurred in this District and each and every Defendant is a citizen of, resides in or is a

 public entity of the State of New Jersey and domiciled within this district.

        38.    The matter in controversy herein involves, exclusive of interest, an amount in

 excess of $75,000.

        39.   On March 22, 2019 FONTANEZ served a Notice of Claim under the Tort Claims



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 Act, N.J.S.A. Title 59. Six (6) months have elapsed since the filing of the Notice of Claim

 without adjustment or resolution of the claim.

        40.   All conditions precedent to suit under Title 59 of the New Jersey Statutes, both with

 regard to the Notice of Claim and injury/medical bills claims have been met.

                                IV. FACTUAL ALLEGATIONS

        41.      On January 6, 2019 the 30 year old male plaintiff was incarcerated at the DOC’s

 facility in Newark, Northern State Prison (“NSP”).

        42.      Prior to January 6, 2019 Plaintiff FONTANEZ began having difficulties with the

 corrections staff, notably defendants CO BRIGGS, CO POZO, CO COLLINS, CO VICK, CO

 VILLAREAL and JOHN DOES 1-10. Defendants would prohibit Plaintiff and other inmates

 from taking showers during their designated periods for doing so, every other day. Plaintiff

 would complain frequently, in particular to BRIGGS, COLLINS and/or other officer defendants

 upon information and belief defendants POZO, VICK, VILLAREAL and JOHN DOES 1-10

 (collectively, the “CORRECTION OFFICER DEFENDANTS”) without resolution. Instead,

 without being permitted his shower, Plaintiff was told to go to recreation by these defendants and

 other corrections officers.

        43.      On one occasion, January 6, 2019, after being told to go to recreation, Plaintiff

 attempted to take a shower but was told he could not have one. Defendant VILLAREAL was the

 officer in charge of the housing Wing on that day.

        44.      Plaintiff FONTANEZ and his cellmate William Vargas went to take a shower.

 When they came out defendants COLLINS, BRIGGS, VILLAREAL and supervisor defendant

 ADAMSON, among others, handcuffed them and/or escorted them to lock up in a holding area.

        45.      Both FONTANEZ and Vargas complied as ordered.



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          46.      Thereafter, Defendant COLLINS During the handcuffing procedure the

 CORRECTION OFFICER DEFENDANTS went into FONTANEZ’s cell and intentionally

 without basis poured disinfectant, bleach and other toxic substances in it, including all over his

 clothing, threw all his property around and destroyed the cell.

          47.     Plaintiff then refused to go into the cell because of the dangerous and foul

 smelling fumes. He asked to speak to a supervisor but was rebuffed by COLLINS who refused

 his entreaties to have a supervisor deal with the situation.

          48.    Instead, defendants COLLINS, BRIGGS, POZO, VICK, VILLAREAL and/or

 other officers advised defendant supervisors LT. YOUSSEF, LT. SUBON and SGT.

 ADAMSON that FONTANEZ and Vargas refused to go into their cell and were simply

 belligerent and aggressive, as opposed to advising or reporting the truth – that COLLINS had

 intentionally trashed the cell and made it uninhabitable.

          49.    No effort was made by any supervisor on duty that evening, around 6:30pm, to

 determine the cause for the problem, speak to the inmates, address the cause and de-escalate the

 situation or intervene with respect to defendant COLLIN’S blatent disregard for policy and

 outrageous behavior.    No effort was made by any supervisor at any time to address the known

 shower problem where the officer on duty would deny FONTANEZ and others shower privileges

 without cause or basis.         These supervisors included defendants YOUSEFF, SUBON,

 ADAMSON, HERNANDEZ, SGT. ROBINSON1 and WILLIAMS.

          50.    Neither did any POLICYMAKER defendant, those responsible for overall

 oversight, management and operations of the jail, defendants O’HICKS, JOHNSON, GANGI

 and ROBINSON, make any effort to deal with the ongoing conduct of COLLINS and others



 1
     Sgt. Qiana Robinson is to be distinguished from Warden/Administrator George Robinson.
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 who were refusing shower privileges and acting with blatent disregard for the rights and

 privileges of the inmates.

        51.      After some kind of a code or communication occurred, heard by plaintiff on

 dispatch or radio, about ten, multiple corrections officers suited up in riot or similar gear came

 after FONTANEZ and used mace against him. FONTANEZ ran naked into the shower to put

 water on his face to get the mace off, after which all he felt were clubs and batons knocking him

 in the head and upper body to the ground.

        52.      Upon learning that FONTANEZ and Williams were refusing to get back into

 their cell, defendant YOUSEFF told Policymaker Defendant GANGI who approved a double

 tier extraction involving two (2) teams of suited up officers to obtain compliance and get the

 inmates back in their cell.

        53.      At no time did defendant GANGI or YOUSEFF make any effort to obtain the

 true facts, speak to the inmates or attempt to deescalate or intervene after being advised that

 plaintiff wished to speak to a supervisor.

        54.      Two (2) extraction teams were formed, one led by defendant SGT. ADAMSON

 and one by SGT. HERNANDEZ.

        55.      The correction officers under their command were defendants SIMMONS,

 POZO,     VICK,      GALLAGHER,          BRIGGS,    BALTIMORE,         O’NEIL,     SOLAZANO,

 MASCHANG and OLEKA.

        56.      SGT. ROBINSON and SGT. RICARDO WILLIAMS were assigned the task of

 filming the extractions.

        57.      These defendant officers, SIMMONS, POZO, VICK, GALLAGHER,

 BRIGGS, BALTIMORE, O’NEIL, SOLAZANO, MASCHANG and OLEKA were each



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 involved and responsible for the punching, kicking and beating of plaintiff FONTANEZ as well

 as his cellmate, William Vargas.

        58.         FONTANEZ also recalls being dragged down the steps seeing blood, beaten and

 put into a wheelchair. An official report notes that “there was a blood trail leading from the

 showers to the exit of the subject housing unit along with excessive water and garbage thrown

 about the tier and stairwell.”

        59.         The supervisor defendants ADAMSON and HERNANDEZ also were involved

 in the brutal beatings. In particular, HERNANDEZ, by his own account beat Plaintiff

 FONTANEZ with a baton. In addition, OC spray was used against the Plaintiff.

        60.         Defendant BALTIMORE took Plaintiff to the ground where the beating

 continued.

        61.         The beatings and attack upon FONTANEZ were not necessary to subdue him or

 maintain prison safety or security and constitute an unlawful use of excessive force.

        62.         By their own admissions, the official reports note that at no time was

 FONTANEZ or Vargas a threat to themselves or others. All FONTANEZ wanted was to speak

 to a supervisor.

        63.         The beating occurred in whole or in part while FONTANEZ was handcuffed,

 according to a statement by a witness.

        64.         In addition to the official reports, upon information and belief, based upon phone

 calls to Plaintiff’s mother J’nelle Harvey, the officers involved in all of the subject events

 including the brutal beating were defendants BRIGGS, POZO, COLLINS, VICK,

 BALTIMORE,            OLEKA,        SOLAZANO,          MASCHUNG,         SIMMONS,        O’NEILL,

 GALLAGHER and supervisors HERNANDEZ and ADAMSON.



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        65.      At no time was plaintiff FONTANEZ resisting the officers physically or was

 combative. At no time was he fighting, swinging, punching or kicking any officer, including

 BALTIMORE or SGT. HERNANDEZ.

        66.      Neither of the defendants assigned to film the extractions succeeding in

 videotaping them. Defendant SGT. ROBINSON and her supervisor, defendant LT. SOBUN,

 concocted a false story that ROBINSON was caused to fall, or lose her balance and that the

 camera she was holding fell and malfunctioned.

        67.      However, the Internal Affairs investigation revealed that such was not the case,

 that in fact there was no malfunction and no indication in viewing the limited footage that the

 camera angle was consistent with a fall. Not only did defendant SGT. ROBINSON conveniently

 fail to video the incident, but when she finally did after the salient period has passed, she failed to

 film the Plaintiff, instead pointing the camera at the backs of the officers or at the wall, in

 violation of policy, procedure and protocol.

        68.      SGT. ROBINSON failed to comply with policy, procedure and training in the

 manner in which she attempted to film the subject event. Such failures are indicative not only of

 lack of training, but show, along with the actions of defendant COLLINS in trashing the cell and

 poisoning it with disinfectant and the actions of the defendants in both covering up COLLINS’

 wrongdoing and beating FONTANEZ, a pattern and practice of permitting and condoning

 continued misconduct to occur, resulting in the injuries and constitutional violations to the

 plaintiff FONTANEZ.

        69.      Defendant RICARDO WILLIAMS was assigned the task of filming the escort

 video of inmate Vargas.

        70.      Despite having this assignment, WILLIAMS failed to capture the incident as he



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 was not present. He obtained a second camera after the escort to the infirmary was already in

 progress after the beatings, both of FONTANEZ and of Vargas. Further, whatever he did

 manage to record was upside down.

        71.      WILLIAMS then turned his camera over to SGT. ROBINSON as her “camera

 battery ” was “failing.” This statement does not comport with either SGT. ROBINSON’S or LT.

 SOBUN’S statements made to investigators.

        72.      Other failures in the filming process were the failure to introduce the extraction

 team and follow protocol in the handling of the cameras.

        73.      As a direct and proximate result of the failure to have proper camera surveillance

 and filing of the subject event as required, plaintiff FONTANEZ was wrongfully charged, the

 gathering of important evidence was intentionally avoided, his procedural due process rights

 were impacted and violated, and he was subjected to arbitrary, capricious and wrongful discipline,

 a substantive due process violation as well.

        74.      FONTANEZ was wrongfully charged, convicted and punished for violating

 internal jail rules including the throwing bodily fluids, refusing to obey and tampering with a

 locking device/conduct that disrupts. FONTANEZ was not guilty of these charges which a

 proper filming would have established.

        75.      FONTANEZ was eventually taken to the infirmary where the CORRECTION

 and FIELD SUPERVISOR DEFENDANTS wanted to just bandage him up and not have him

 taken to the hospital. However, a nurse upon information and belief did intervene and ordered an

 ambulance.

        76.      After surgery Plaintiff was sent to Jersey State Prison.

        77.      At no time during these or any other events did plaintiff FONTANEZ touch any



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 corrections officers, any of the CORRECTION OFFICER DEFENDANTS or FIELD

 SUPERVISOR DEFENDANTS, resist efforts to obtain cuffing or resist compliance with any

 orders.

           78.   The assault by the CORRECTION OFFICER and FIELD SUPERVISOR

 DEFENDANTS, each one, was the direct result of a conspiracy evidenced by the code and

 dispatch ordered after Plaintiff refused to get into his cell after it was destroyed, who spoke to

 each other and planned and conspired to get suited up so that their identities would be concealed

 in order to accomplish the objectives of the conspiracy, namely to severely beat the Plaintiff and

 cause serious harm, and to “teach him a lesson.”

           79.   The    CORRECTION          OFFICER        DEFENDANTS,           BRIGGS,       POZO,

 COLLINS, VICKS, VILLAREAL, BALTIMORE, O’NEILL, SOLAZANO, MASCHANG,

 OLEKA, SIMMONS, GALLAGHER, the SUPERVISORY OFFICERS ADAMSON,

 HERNANDEZ, YOUSSEF, SOBUN and JOHN DOES 1-10, the guards and supervisors

 responsible for the beating and either trashing of the cell or covering the trashing and assault up

 and failing to report them, failed and refused to provide any medical attention to plaintiff after the

 beating, and left him in the infirmary without seeing to it that he was sent to the hospital for

 obviously needed care.

           80.   At no time relevant hereto had Plaintiff threatened any corrections officers with

 harm. He did, however, in response to the trashing of the cell by COLLINS, attempt to use water

 to avoid an impending attack by the multiple corrections officers and to ameliorate the fetid and

 toxic odors emanating from the cell.

           81.   At no time were the actions by the guards in hitting FONTANEZ with a baton,

 kicking and punching him both before and after handcuffing warranted or necessary to control



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 the inmate population or were needed to effectuate safety, protocol or control over the jail.

           82.

 Plaintiff was diagnosed and suffered as a direct and proximate result of the beating and assault by

 BRIGGS,         POZO,    COLLINS,       VICKS,        VILLAREAL,      BALTIMORE,          O’NEILL,

 SOLAZANO,          MASCHANG,          OLEKA,         SIMMONS,       GALLAGHER,         ADAMSON,

 HERNANDEZ, SUBON and JOHN DOES 1-10, at NSP multiple rib fractures, a broken nose, a

 fractured right ankle requiring open reduction surgery with plates, facial and other injuries. He

 was hospitalized from January 6, 2019 to January 11, 2019.

           83.   Plaintiff continues to suffer from his injuries, cannot sleep on a top bunk bed, and

 required and continues to require care including but not limited to X-Rays, MRIs doctor’s

 evaluations, medications and therapies such as physical therapy and steroid injections.

           84.   Over the past two (2) years since the happening of the incident, Plaintiff

 FONTANEZ has and continues to request medical care for his injuries, inducing a proper

 evaluation and therapies for his leg and other parts of his body.

           85.   FONTANEZ has continued to complain about the lack of diagnostic testing, has

 requested same and continues to be in pain without appropriate or limited action taken by the jail

 staff at every jail he has been transferred to, from South Woods State Prison to New Jersey State

 Prison.

           86.   Plaintiff’s continued pain, suffering, discomfort and damages is a direct and

 proximate result of the constitutional violations and conduct of the identified defendants who

 assaulted plaintiff and caused the injuries.

           87.   The official reports filed in connection with the subject incident are riddled with

 inconsistencies, errors, are inaccurate and false.



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        88.    Interviews revealed that the altercation and problem arose after FONTANEZ and

 his cellmate Vargas were denied showers by their direct supervisors, who included defendants

 VILLAREAL, COLLINS, BRIGGS, POZO and VICK.

        89.    Not one officer admitted in a report or acknowledged that there was a continued and

 known problem that these officers, among others, were regularly denying FONTANEZ, Vargas

 and others their showers, in violation of policy and protocol.

        90.    Not one officer, in particular defendants VILLAREAL, COLLINS, BRIGGS,

 POZO, VICK and their supervisors, defendants ADAMSON, HERNANDEZ, YOUSEFF and

 SOBUN, acknowledged in their reports that COLLINS and others had been trashing plaintiff’s

 cell and poisoning it with disinfectant and cleaning supplies, despite knowledge. Photos and

 observations from the investigation alerted Internal Affairs (SID) that the cell had in fact been

 trashed and stunk of disinfectant/bleach.

        91.    The reports regarding the videotaping and he inability to capture the incident were

 lacking in any accurate or truthful reporting by SGT. ROBINSON and LT. SOBUN. An

 integrity test of the cameras revealed that they were all in good working order. Further, “due to

 deficiencies identified in Custody Staff reports, cameras could not be identified as to which

 cameras recorded which footage.”

        92.    Defendant VILLAREAL denied there was a problem with the showers, noting in

 his interview that Vargas and FONTANEZ “completed their showers and refused to return to

 their assigned cell.” He was unsure as to whether the cell had been “searched” or if “any Custody

 Staff entered the storage area for cleaning supplies.” As the officer directly responsible for the

 subject tier, VILLAREAL knew full well of COLLINS’ misconduct and failed to report it,

 acknowledge it, or do anything about it.



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        93.    Defendant COLLINS failed to report his misconduct. His report is untruthful.

        94.    Defendant COLLINS was subject to a hearing regarding his conduct in an

 administrative hearing before the Office of Administrative Law (OAL), docket no: CSR 07720-

 2019N before the Hon. Ernest Bongiovanni, the disposition of which awaits discovery.

        95.    Defendant SGT. ADAMSON alleged his interview that he attempted to talk to the

 inmates FONTANEZ and Vargas, but that they would not listen to him, yet this conversation

 according to another officer took place prior to the trashing of the cell which led to the refusal of

 FONTANEZ and Vargas to go back into the cell. Further, ADAMSON denied knowing about

 the trashing of the cell. These statements were false and misleading, as SGT ADAMSON knew

 about the trashing of the cell and use of disinfectant and bleach to make it uninhabitable. Further,

 SGT. ADAMSON did not speak to FONTANEZ after FONTANEZ asked to speak to a

 supervisor.

        96.    The various reports of the defendant officers, including but not limited to

 HERNANDEZ, COLLINS, VILLAREAL, ADAMSON, YOUSSEF, SOBUN, ROBINSON,

 WILLIAMS, BALTIMORE, OLEKA, SOLAZANO, and                             MASCHUNG                contained

 discrepancies and inaccuracies designed to cover up the misfeasance and the beating of

 FONTANEZ.

        97.    The various reports of the defendant officers, including but not limited to

 HERNANDEZ, COLLINS, VILLAREAL, ADAMSON, YOUSSEF, SOBUN, ROBINSON,

 WILLIAMS, BALTIMORE, OLEKA, SOLAZANO, and                                 MASCHUNG contained

 discrepancies and inaccuracies designed to prevent Plaintiff from being able to present a viable a

 proper case to a jury regarding the violation of his constitutional rights and other claims

        98.    The failures to take proper video footage were designed to prevent Plaintiff from



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 being able to present a viable case to a jury regarding the violation of his constitutional rights and

 other claims.



                                             FIRST COUNT
                                  42 U.S.C. §§ 1983 - individual liability

         99.     Plaintiff repeats and realleges each and every paragraph contained in the

 Complaint and incorporates same as if set forth fully herein at length.

         100.    FONTANEZ had a right under the Fourth Amendment of the United States

 Constitution to be free from and protected from the use of excessive force.

         101.    FONTANEZ, as a convicted incarcerated person, had a right under the Fourteenth

 and Eighth Amendments of the United States Constitution to receive adequate medical care and to

 be free from cruel and unusual punishment.

         102.    FONTANEZ had a right under the First Amendment to the United States

 Constitution to be free of harassment and the use of excessive force in retaliation for complaining

 about wanting to take a shower; he also had a First Amendment right to access to the courts

 without impediment in the failure to identify defendants caused by the filing of inaccurate official

 reports and interviews.

         103.    FONTANEZ had a liberty interest in bodily integrity protected by the Due

 Process Clauses both substantive and procedural of the Fifth and Fourteenth Amendments of the

 United States Constitution.

         104.    The aforementioned rights under the First, Fourth, Fifth, Eighth and Fourteenth

 Amendments of the United States Constitution were each clearly established as of January 8,

 2019.

 Constitutional Violations by the POLICY MAKER DEFENDANTS

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        105.    At all relevant times herein defendants HICKS, JOHNSON, GANGI, GEORGE

 ROBINSON, THE ADMINISTRATOR and JOHN DOES 1-10, their employees, agents and

 representatives were acting under color of law under the state and federal constitutions, laws,

 charters, ordinances, rules, regulations, customs, usages and practices of the State of New Jersey

 and its agency the DOC.

        106.    At all relevant times all of the identified CORRECTION OFFICER

 DEFENDANTS and SUPERVISOR DEFENDANTS and JOHN DOES 1-10 were acting

 under color of law under their authority as state corrections officers.

        107.    The    POLICYMAKER            DEFENDANTS          HICKS,   JOHNSON,      GANGI,

 GEORGE ROBINSON, THE ADMINISTRATOR and JOHN DOES 1-10, knew, should

 have known, and were on notice of an unofficial policy, practice or custom which permitted the

 unimpeded, undisciplined and unremediated use of random excessive force and as well as the

 failure to provide medical attention to inmates under their care, custody and control and

 condoned, tolerated or acquiesced to such misconduct, as well as tolerating the filing of false

 reports and testimony given in interviews.

        108.    There are multiple examples showing a history of the use of excessive force in

 DOC facilities both before and after the incident pled in this Complaint, known to the

 POLICYMAKER DEFENDANTS.

        109.    On July 13, 2010, Sgt. Kevin Newsom attacked inmate Bradley Peterson being

 housed at the New Jersey State Prison by cracking him over the head several times with an

 expandable metal baton while Peterson was handcuffed, shackled and offering no resistance.

 Thereafter, Newsom directed his subordinate officer, SCO Israel, to write his Special Custody

 Reports in such a way that Newsom’s misconduct would not be exposed. On January 9, 2013,



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 Peterson filed suit, civil action No. 11-2594 (FLW).

        110.    Although administrative charges were filed against Newsom who was terminated,

 the other involved corrections officers suffered no consequences, which further emboldened them

 to use excessive force on inmates.

        111.    In Stokes v. Lanigan, 2012 WL 4662487 (D.N.J. 10/2/12), Jacquar Stokes sued the

 prior Commissioner of the DOC and others for threats made by corrections officers as well as

 insufferable prison conditions, putting HICKS, JOHNSON, GANGI, GEORGE ROBINSON

 and THE ADMINISTRATOR on notice of misconduct within the state prison system, including

 NSP.


        112.    In 2017 a lawsuit against the prior DOC Commissioner and the DOC, 2017 WL

 1050581 (D.N.J. 2017) put DOC officials on notice of allegations by Abdur-Raheem regarding a

 2015 incident involving several violations of civil rights including the fabrication of disciplinary

 proceedings and assault by corrections officers.

        113.    On October 13, 2016, the DOC issued a Preliminary Incident Report documenting

 the excessive use of force on Andrew Nance, an inmate at New Jersey State Prison by a

 corrections officer. On June 16, 2017, Nance filed suit in the Superior Court of New Jersey,

 Docket No. MER-L-1209-17, against DOC corrections officers, which include allegations that a

 guard knocked him to the floor, kicked and struck him with batons causing fractured ribs,

 lacerations to his face and scalp, and bruises and abrasions to his arms, legs, torso and head.

        114. An investigation conducted by Director Bonnie Kerness, Rachel Frome, Marshall

 Rountree, Jean Ross, Esq. and Lydia Thornton of the Prison Watch Community Oversight

 Initiative shows that on August 11, 2016, a New Jersey State Prison inmate was physically

 assaulted by a correction officer while other correction officers looked on.


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          115. The Prison Watch Community Oversight Initiative published its report in its March

 2017 issue. This report sets forth numerous instances of abuse, including the use of excessive

 force and the failures to provide medical attention:

    a).     Sexual assault is rampant at the Edna Mahon Correctional Facility for Women. In

    addition, there are currently several cases in suit involving sexual assault at this facility. See,

    Brown Marianne v. State of New Jersey, MER-L-000503-18, a class action complaint.

    b). On November 1, 2016 a prisoner at New Jersey State Prison on constant watch to prevent

    suicide was challenged to a fight by a corrections officer who, along with other corrections

    officers, assaulted the inmate without provocation.

    c) Prisoners report that “assaults by corrections officers are often covered up, by causing

    calling a suicide code to justify entering a cell without supervision by a Sgt., assaulting a

    prisoner and then issuing an assault code to justify the prisoner-victims injuries...”

    d) On November 4, 2016 corrections officer Daniel was accused of assaulting an inmate by

    punching him in the face; the inmate remains constantly in pain at the New Jersey State

    Prison.

    e) On November 8, 2016 a case of excessive force at the Northern State Prison is noted by an

    inmate who had served his 30 year sentence and was beaten by one or more guards and taken

    to the infirmary.

    f)      On November 14, 2016 a report of sexual assault by officers in Administrative

    Segregation (“Ad Seg”) was made emanating out of Northern State Prison.

    g) On November 14, 2016 a report was made regarding the failure to provide medical

    attention to an inmate suffering from seizures who also stated that he “watched inmates get

    stomped out by the [guards] various times in here and most of these nurses and doctors will



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    cover the stuff up;” at Northern State Prison.

    h) It was reported that there are frequent assaults on prisoners at Bayside Prison, racial

    discrimination and a carefully cultivated culture of fear and retaliation for complaints.

    i) On November 22, 2016 a report of prior rape and the failure to provide psychiatric medical

    attention was made by an inmate at the Central Reception Assignment Facility (CRAF).

        116.     On December 13, 2016, Victor Razumov sued a number of Defendants associated

 with the New Jersey State Prison (“NJSP”), including the State of New Jersey, the DOC, the

 NJSP, and several administrators as well as the prior DOC Commissioner Gary Lanigan in the

 District of New Jersey for excessive use of force, failure to provide adequate surveillance of

 Razumov (who suffered from mental illness), and failure to provide adequate supervision,

 training, and discipline over Corrections Officers resulting in the loss of both eyes, incidents that

 occurred in December 2014. See Civil Action No. 3:16-cv-9221 (BRM/TJB).                 Counsel for

 FONTANEZ herein represents Razumov.

         117.    In or about 2017, Gary Lanigan and a DOC jail administrator were sued in the

 District of New Jersey by Steven Grieco, an inmate housed alone in Ad Seg at the NJSP, in

 connection with serious head injuries inflicted on him by NJSP Corrections Officers on March

 23, 2015, Civil Action No. 15-7881 (FLW).

        118.    In a case very similar to one set forth in this Complaint, on November 19,

 2018 inmate Garreffi was brutally beaten by corrections officers without cause or provocation at

 Northern State South Woods State Prison after complaining about not getting his proper

 recreation time. A Complaint has been filed in the Garreffi matter by counsel representing

 FONTANEZ herein, civil action no: 2:20-cv-16396-MCA-MAH.

        119.    FONTANEZ was again beat up by guards at South Woods State Prison after being



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 transferred from Northern State Prison after suffering the beating and injuries alleged in this

 Complaint for complaining about several conditions of confinement in October 2020; he was sent

 to New Jersey State Prison for lockdown in Administrative Segregation without any basis and is

 appealing that decision.    A Notice of Claim has been served by counsel representing

 FONTANEZ herein.

        120.    On December 1, 2016 inmate David Goodall was brutally beaten at New Jersey

 State Prison without cause or provocation by several corrections officers who fractured his jaw

 requiring surgery, among other injuries after Goodall complained about a food tray. A Complaint

 has been filed by counsel representing FONTANEZ herein, civ. action no. 3:18-cv-16588.

        121.    A YouTube video dated February 25, 2009 uploaded on June 24, 2016 shows on

 camera surveillance New Jersey correctional officers assaulting an inmate without cause or

 provocation.

        122.    On May 22, 2020 inmate Michael Martinez was brutally beaten at Bayside State

 prison by corrections officers without cause or provocation. A notice of claim has been filed by

 counsel representing FONTANEZ herein.

        123.    On October 11, 2020 inmate Tyler Chainey was brutally beaten suffering eye and

 other injuries without cause or provocation at South Wood State Prison. A notice of claim has

 been served by counsel representing FONTANEZ herein.

        124.    Many other complaints regarding abuse of inmates in the DOC system have been

 made. Notice of the use of excessive force has been given by claims brought by Lester Alford, a

 class action lawsuit by seven (7) prisoners in the 2008 time frame against Governor Corzine and

 Administrator Michelle Ricci; a June 2010 movie of abuse in New Jersey state prisons and a

 “Collection of Testimonies of Torture in New Jersey Prisons” by the American Friends Service



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 Committee in February 2015, among many complaints and claims and lawsuits.

        125.    The abuse within the DOC system over the last decade or more is well documented

 and continues unabated.

        126.    The abuses against women including rape, physical abuse and beatings at the Edna

 Mahon facility for women have been well documented to the point where Governor Murphy has

 determined to close down the facility this year. Hearings regarding abuse at Edna Mahon have

 been the subject of state legislative hearings both pre and post January 6, 2019.

        127.    All of these cases also involved allegations of conspiracy to cover up the facts,

 allegations involving the filing of inaccurate, false or misleading statements by subordinates, the

 failure to report staff and colleagues’ misconduct and the failure to intervene or take action to

 remediate the misconduct.

        128.    Accordingly, defendants HICKS, JOHNSON, GANGI, GEORGE ROBINSON,

 THE ADMINISTRATOR and JOHN DOES 1-10 were aware and on notice through all of these

 complaints and claims that these problems existed and have been chronic and continual problems

 for many years prior to the subject incident.

        129.    Defendants HICKS, JOHNSON, GANGI, GEORGE ROBINSON, THE

 ADMINISTRATOR and JOHN DOES 1-10 had a duty under the state and federal constitution

 to ensure the safety and welfare of the inmates under their custodial care and provide them with

 an environment that maintained their right to be free of harm; this included the duty to protect the

 safety of any inmate and intervene to prevent harm where necessary.

        130.    Defendants HICKS, JOHNSON, GANGI, GEORGE ROBINSON, THE

 ADMINISTRATOR and JOHN DOES 1-10 despite knowledge and notice of the use of

 excessive force, prison abuse, the failure to provide medical attention and the failure of their



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 subordinates to file accurate reports including the reporting of staff misconduct, have failed and

 refused to remediate these problems despite clear knowledge that the failure to do so would be

 and has been substantially certain to lead to severe harm to the inmates under their care, custody

 and control, including plaintiff FONTANEZ.

        131.    Defendants HICKS, JOHNSON, GANGI, GEORGE ROBINSON, THE

 ADMINISTRATOR and JOHN DOES 1-10, despite being on notice repeatedly of the use of

 excessive force, abuse, the failure to provide medical attention and the failure of their

 subordinates to file accurate reports including the reporting of staff misconduct across the DOC

 jail facilities, had a duty and obligation to investigate these allegations, commence internal affairs

 (“SID”) investigations, and thereafter provide adequate training, supervision and discipline to the

 involved corrections officers in order to correct this misconduct, which did not occur.

        132.    Defendants HICKS, JOHNSON, GANGI, GEORGE ROBINSON, THE

 ADMINISTRATOR and JOHN DOES 1-10 permitted, allowed, maintained and ratified a

 practice, custom and/or policy of failing to train, discipline and supervise corrections officers,

 including defendants YOUSSEF, ADAMSON, HERNANDEZ, SOBUN, SGT. ROBINSON,

 SGT. WILLIAMS, BALTIMORE, O’NEILL, SOLAZANO, MASCHANG, OLEKA,

 SIMMONS, GALLAGHER, BRIGGS, POZO, COLLINS, VICK, VILLAREAL and JOHN

 DOES 1-10 on the use of force, excessive and unjustified force, the circumstances requiring the

 need for immediate medical attention necessary to protect the safety and welfare of the prison

 population, how to properly film an extraction or other incident, and the filing of accurate reports

 including the reporting of staff misconduct, all a direct and proximate cause of the damages to

 plaintiff FONTANEZ.




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        133.    Defendants HICKS, JOHNSON, GANGI, GEORGE ROBINSON, THE

 ADMINISTRATOR and JOHN DOES 1-10 failed to implement and enforce policies,

 procedures and protocols necessary to properly train and supervise their subordinates, including

 the CORRECTION OFFICERS and SUPERVISOR DEFENDANTS set forth in paragraph 92

 and in the caption, above, in the use of force, the provision of medical attention, how to properly

 film an extraction or other incident, the filing of accurate reports including the reporting of staff

 misconduct, and the need to avoid abuse and to make sure that such policies, procedures and

 protocols would be effective in avoiding misconduct, and to ferret out misconduct.

        134.    At   all   relevant   times   herein   Defendants    HICKS,     JOHNSON,        THE

 ADMINISTRATOR and JOHN DOES 1-10 were responsible for the conduct and oversight of

 corrections officers, including defendants CORRECTION OFFICERS, SUPERVISORY

 DEFENDANTS and JOHN DOES 1-0 set forth in paragraph 92 and in the caption, above.

        135.    Defendants HICKS, JOHNSON, GANGI, GEORGE ROBINSON, THE

 ADMINISTRATOR and JOHN DOES 1-10 acted with deliberate and conscious indifference to

 Plaintiffs’ constitutional rights which violations arose out of a pattern, custom, policy or practice

 of said defendants in allowing and permitting the use of random, unjustified and excessive force,

 the failure to provide medical attention, the failure to rectify abuses including the proper filming

 of an extraction or other incident and the filing of inaccurate reports including the reporting of

 staff misconduct, among other abuses without discipline or remediation, and in violating the

 Attorney General’s own guidelines pertaining to the use of force as well as internal DOC and

 NSP guidelines and protocol relating to the use of force, the provision of medical attention, the

 proper filming of an extraction or other incident and the filing of official reports requiring the




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 reporting of staff misconduct, knowing with substantial certainty that such conduct would lead to

 harm and injuries to inmates, including plaintiff FONTANEZ herein.

        136.    Defendants HICKS, JOHNSON, GANGI, GEORGE ROBINSON, THE

 ADMINISTRATOR and JOHN DOES 1-10 acted with deliberate and conscious indifference to

 plaintiffs’ constitutional rights which violations arose out of a pattern, custom, policy or practice

 of said defendants in the failing to enact, enforce or implement policies and procedures on the use

 of force, the provision of medical attention, the proper filming of an extraction or other incident

 and the filing of official reports requiring the reporting of staff misconduct, knowing with

 substantial certainty that such conduct would lead to harm and injuries to inmates, including

 plaintiff FONTANEZ herein.

        137.    The failure to discipline and conduct proper Internal Affairs reviews for those

 officers evidencing misconduct in the use of force, the provision of medical attention, the filming

 of extractions or other incidents and the filing of inaccurate, false and/or misleading reports

 including the failure to report staff misconduct evidences deliberate indifference to the likelihood

 of substantial harm to inmates at the NSP, including plaintiff FONTANEZ herein.

        138.    The direct actions of defendants HICKS, JOHNSON, GANGI, GEORGE

 ROBINSON, THE ADMINISTRATOR and JOHN DOES 1-10 in failing to train, supervise,

 monitor and discipline corrections officers, including the CORRECTION OFFICERS and

 SUPERVISORY DEFENDANT OFFICERS previously identified in this Complaint using

 excessive force, failing to provide medical attention, failing to properly film an extraction or

 incident and failing to file accurate, truthful reports as well as report on staff and colleagues’

 misconduct, as well as the failure to enact, propound and/or enforce necessary policy to avoid

 harm was deliberately indifferent to the constitutional rights of plaintiff FONTANEZ, and



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 deprived him of his constitutional due process rights, rights to be free of unlawful seizure, rights

 of free speech and access to the courts, rights to be free of arbitrary and capricious punishment

 and discipline and rights to bodily integrity under the First, Fourth, Fifth, Eighth and Fourteenth

 Amendments to the United States Constitution to be vindicated under 42 U.S.C. §1983.

         139.   The      POLICYMAKER              defendants    HICKS,        JOHNSON,         THE

 ADMINISTRATOR and JOHN DOES 1-10 know the identities of these officers and, despite

 being put on notice with a Notice of Claim, have failed and refused to provide those identities.

         140.   The failure to produce and identify these defendants as well as the results of the

 SID investigation and the investigation itself leaves Plaintiff without the ability to name and

 timely sue said defendants, amounting to a conspiracy of which each individual

 POLICYMAKER DEFENDANT has taken part and for which each POLICYMAKER

 DEFENDANT is aware.

         141.   The persons to be identified include the Administrator(s) of Northern State Prison

 as of and including January 6, 2019, as well as all supervising Sergeants, Lieutenants, Captains

 and Corrections Officers responsible for supervision, monitoring and oversight of the Plaintiff

 within six (6) months up to the date of the incident on January 6, 2019; those officers responsible

 for plaintiff’s shower privileges, for trashing his cell and for beating him and/or observing or

 being on notice of the beating but failing to intervene and those responsible for providing medical

 attention.

         142.   The defendants HICKS, JOHNSON, THE ADMINISTRATOR and JOHN

 DOES 1-10 came to a mutual agreement, either express or implied, to perform acts that violated

 FONTANEZ’S federal constitutional rights, specifically to fail to release and provide the

 identities of all involved actors as heretofore described.



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           143.   The members of this conspiracy took steps in furtherance of this agreement.

           144. The conspiracy was developed with deliberate indifference to deprive FONTANEZ

 of his federal constitutional rights.

           145.   The foregoing acts of failure to train, supervise, discipline, as well as the failure to

 promulgate and enforce policy and to engage in a conspiracy to deny Plaintiff his right to

 effectively identify and pursue each and every state employee involved in the subject events

 deprived Plaintiff of his rights privileges and immunities secured by the Constitution and laws of

 the United States.

           146. In particular, defendant MARCUS O. HICKS, ESQ, as the Acting Commissioner

 of the DOC, was apprised of all adverse events at the DOC facilities on a regular basis, including

 complaints and statistics regarding the use of excessive force and complaints regarding failures in

 medical attention, cover ups, the failure to write and file accurate and proper reports, and the

 failure to have proper filming or video evidence available in connection with claims of the use of

 excessive force.

           147. MARCUS O. HICKS, ESQ. was at all relevant times aware and had specific

 knowledge of overall complaints of abuse, use of force and lack of medical attention complaints

 both from his aides and officials at the DOC and the media including the Star Ledger, who did a

 detailed study into suicides and abuse throughout the DOC jail system pre-dating the subject

 events.

           148.   MARCUS O. HICKS, ESQ. had convened meetings to review allegations of

 abuse throughout the DOC system, including the use of excessive force at NSP, but failed to see

 to it that these problems were properly dealt with and remediated.




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        149. The problems with respect to the use of random, arbitrary, excessive and brutal

 force continue to occur with regularity despite former Cmr. HICK’s knowledge and even SID

 investigations pertaining to same. The Chainey, Martinez, Goodall and Garreffi cases cited above

 are perfect examples.

        150. In addition, MARCUS O. HICKS, ESQ., has failed and refused to identify and

 release the names of all the officers involved in the beating and cell incidents; the initial denial of

 shower privileges and the failure to provide medical attention, as well as to identify the Chief

 Administrator of Northern State Prison.

        151.    Defendant STEVEN JOHNSON was the Warden upon information and belief at

 the Northern State Prison at all relevant times with direct contact with his captains and lieutenants

 responsible for maintaining order and safety at NSP.

        152.    Defendants ANTHONY GANGI and GEORGE ROBINSON were also, or

 alternatively, the Warden, Assistant Warden, Superintendants, Administrators or other identified

 policymakers at the NSP with direct contact with their captains and lieutenants responsible for

 maintaining order and safety at NSP.

        153.    JOHNSON, GANGI and GEORGE ROBINSON also at all relevant times were

 aware and had specific knowledge of overall complaints of abuse, use of force, lack of medical

 attention, cover ups regarding use of force incidents, the failure of subordinates to write and file

 accurate and proper reports, and the failure to have proper filming or video evidence available in

 connection with claims of the use of excessive force.

        154.    JOHNSON, GANGI and GEORGE ROBINSON were aware of complaints both

 from their aides and administrators at NSP, from their direct contact with the inmate population




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 and reporting from SID, as well as from the media including the Star Ledger, who did a detailed

 study into suicides and abuse throughout the DOC jail system pre-dating the subject events.

         155.      Despite their vast knowledge of continued and chronic problems and wrongdoing

 by corrections officers and field supervisors at NSP, JOHNSON, GANGI and GEORGE

 ROBINSON failed to do anything about it.

         156.      The problems with respect to the use of random, arbitrary, excessive and brutal

 force continue to occur with regularity despite JOHNSON, GANGI and GEORGE

 ROBINSON’S knowledge and even SID investigations pertaining to same.

         157.      In addition, JOHNSON has failed and refused to identify and release the names of

 all the officers involved in the beating and cell incidents; the initial denial of shower privileges

 and the failure to provide medical attention, as well as to identify the Chief Administrator of

 Northern State Prison.

         158.      The allegations with respect to the POLICYMAKER DEFENDANTS described

 above apply to any JOHN DOE ADMINISTRATOR not yet identified or known. THE

 ADMINISTRATOR for NORTHERN STATE PRISON also at all relevant times was aware

 and had specific knowledge of overall complaints of abuse, use of force and lack of medical

 attention complaints both from his aides and officials at NSP, from his direct contact with the

 inmate population and reporting from SID, as well as from the media including the Star Ledger,

 who did a detailed study into suicides and abuse throughout the DOC jail system pre-dating the

 subject events.

        159.       Despite his/her vast knowledge of continued and chronic problems and

 wrongdoing by corrections officers at NSP, THE ADMINISTRATOR failed to do anything

 about it.



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        160.       The problems with respect to the use of random, arbitrary, excessive and brutal

 force continue to occur with regularity despite THE ADMINISTRATOR’S knowledge and even

 SID investigations pertaining to same.

        161.       THE ADMINISTRATOR has failed and refused to identify and release the

 names of all the officers involved in the beating and cell incidents; the initial denial of shower

 privileges and the failure to provide medical attention.

        162.       All of the POLICYMAKER DEFENDANTS knew that CORRECTION

 OFFICER and SUPERVISORY DEFENDANTS ADAMSON, HERNANDEZ, SOBUN,

 SGT.    ROBINSON,          SGT.    WILLIAMS,          BALTIMORE,        O’NEILL,      SOLAZANO,

 MASCHANG, OLEKA, SIMMONS, GALLGHER, VILLAREAL, BRIGGS, CO POZO,

 CO COLLINS, CO VICK and JOHN DOES 1-10 had complaints against them for misconduct

 and failed to do anything about it, leading to the abject failures of policy and constitutional rights

 alleged herein.

        163.       Notably, defendant GALLAGHER is named in the case of Garreffi v. Hicks,

 2:20-cv-16396 as having used excessive force in November 19. 2018, prior to the FONTANEZ

 incident. The Garreffi matter also occurred at Northern State Prison.

        164.       The failure to discipline, retrain or terminate the CORRECTION OFFICER and

 SUPERVISORY DEFENDANTS or any of the other involved officers upon learning of the

 subject incident evidences a grave indifference to the constitutional rights of plaintiff

 FONTANEZ.

 Constitutional Violations by the FIELD SUPERVISOR/SUPERVISORY DEFENDANTS.




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        165.    Defendant YOUSSEF, a high ranking officer and Shift Commander, was on duty

 during the use of excessive force, trashing of the cell, the failure to permit showers, and all of the

 events comprising the allegations in this complaint.

        166.    YOUSSEF was advised by his subordinates, including defendant SGT.

 ADAMSON and/or others, that there was a situation developing involving the refusal of

 FONTANEZ and Vargas to return to their cells, despite being wholly complaint when first

 requested to go into a holding cell. YOUSSEF made no effort to ascertain what was going on or

 why. Instead, he simply ordered two (2) fully suited up extraction teams who, by history,

 knowledge and understanding, would use extreme force against inmates, and whose appearance

 would be sure to intimidate, threaten and provoke inmates instead of de-escalating the situation.

        167.    LT. YOUSSEF made no effort to speak with the inmates or determine whether his

 subordinate’s conduct was the problem, and not the inmates.

        168.    LT. YOUSSEF either made insufficient inquiry into the situation or knew himself

 that COLLINS, VILLAREAL and others were creating problems, trashing the inmates’ cell and

 refusing to permit them, FONTANEZ and Vargas, to take showers as required under protocol,

 and were and had been generally harassing them.

        169.    LT. YOUSSEF was a party to the retaliation against FONTANEZ’s complaints

 about the showers and purposefully obtained approval for a suited up army of officers whose goal

 would be to assault and harm plaintiff FONTANEZ.

        170.    LT. YOUSSEF failed and refused to take control and command of the situation as

 required under protocol, and was deliberately indifferent to the misconduct among his

 subordinates and failed to intervene to prevent it, including the trashing of the cell, the failure to




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 properly record the incident, and the excessive use of force. In the alternative, LT. YOUSEFF

 was a participant in the retaliation and tacitly approved the assault on FONTANEZ.

         171.    SGT. ADAMSON was the supervisor who led one of the extraction teams. He

 was directly involved with and observed the use of excessive force upon FONTANEZ as

 aforedescribed. He participated in the unlawful beating, punching and kicking of FONTANEZ.

         172.    SGT ADAMSON also failed to intervene to prevent the unlawful use of force and

 beating of the plaintiff.

         173.    SGT ADAMSON also gave false, inaccurate and misleading evidence to the

 investigators as his reports and interviews were inconsistent with DARIUS COLLINS’ evidence.

 SGT ADAMSON knew that COLLINS was destroying the cell and failed to report that to his

 superiors.     SGT. ADAMSON claimed to have spoken with FONTANEZ after they were

 “destroying the tier” and after they refused to go into their cell which was inaccurate.

 FONTANEZ denies speaking with SGT. ADAMSON about the cell, in fact FONTANEZ

 alleges that he requested a supervisor and that he was denied access to one.

         174.    SGT. ADAMSON denied knowing that FONTANEZ and Vargas had been taken

 to the holding area, despite reports that it was there that ADAMSON spoke to FONTANEZ.

         175.    SGT. ADAMSON was a party to the retaliation against FONTANEZ’s

 complaints about the showers and tacitly approved the assault on FONTANEZ.

         176.    SGT. ERNESTO HERNANDEZ was the supervisor who led one of the

 extraction teams. He was directly involved with and observed the use of excessive force upon

 FONTANEZ as aforedescribed. He participated in the unlawful beating, punching and kicking

 of FONTANEZ. HERNANDEZ struck FONTANEZ in the legs with his baton, such force

 being unnecessary to address prison safety or to subdue FONTANEZ.



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           177.     SGT. HERNANDEZ also failed to intervene to prevent the unlawful use of force

 and beating of the plaintiff.

           178.     SGT. HERNANDEZ knew that COLLINS, VILLAREAL and others were

 destroying the cell and were the cause of the incident, but failed to report it or intervene to

 prevent/stop it.

           179.     SGT. HERNANDEZ was a party to the retaliation against FONTANEZ’s

 complaints about the showers and tacitly approved the assault on FONTANEZ.

           180.     LT. BRIAN SOBUN was a high ranking officer on duty during the subject

 events.

           181.     LT. SOBUN made no effort to speak with the inmates or determine whether his

 subordinate’s conduct was the problem, and not the inmates.

           182.     LT. SOBUN either made insufficient inquiry into the situation or knew himself

 that COLLINS, VILLAREAL and others were creating problems, trashing the inmates’ cell and

 refusing to permit them, FONTANEZ and Vargas, to take showers as required under protocol,

 and were and had been generally harassing them.

           183.     LT. SOBUN was a party to the retaliation against FONTANEZ’s complaints

 about the showers and tacitly approved the assault on FONTANEZ.

           184.     LT. SOBUN failed and refused to take control and command of the situation as

 required under protocol, and was deliberately indifferent to the misconduct among his

 subordinates and failed to intervene to prevent it, including the trashing of the cell, the failure to

 properly record the incident, and the excessive use of force.

           185.     LT. SOBUN was responsible for covering up and intentionally creating the false

 version of events involving defendant SGT. ROBINSON’s mishaps with the camera. SOBUN



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 falsely claimed that ROBINSON had dropped it and that it malfunctioned, causing ROBINSON

 not to be able to film the incident. LT. SOBUN’S evidence in this regard was found to be wrong

 by the internal affairs investigators, who found that the camera did not show any malfunction and

 that there was no indication from the footage that it had been dropped.

        186.    LT. SOBUN personally participated in giving inaccurate, false and misleading

 evidence, covered-up the brutal beating of FONTANEZ, and failed to intervene to prevent the

 misconduct of his subordinates.

        187.    Defendants SGT. ROBINSON and SGT. WILLIAMS, in failing and refusing to

 properly film the incident/extraction as required, purposely aided in the cover-up and loss of

 critical evidence needed to support FONTANEZ’s claims in this case and in connection with his

 administrative charges and discipline.

        188.    Each of these FIELD SUPERVISOR DEFENDANTS knew that they were

 violating the clearly established constitutional rights of the plaintiff and engaged in the subject

 misconduct notwithstanding such knowledge.

 Constitutional Violations by The Individual Correction Officer defendants

        189.    Defendants BRIGGS, POZO, COLLINS, VICK, BALTIMORE, O’NEILL,

 SOLANZANO, MASCHANG, OLEKA, SIMMONS, GALLAGHER and JOHN DOES 1-10

 were all direct participants in the beating, retaliated against Plaintiff FONTANEZ for

 complaining about not obtaining his shower privileges, trashed his cell or knew it was being

 trashed, failed to provide medical attention after beating plaintiff up, gave inaccurate, false or

 misleading evidence as to the beating and the cause of plaintiff’s actions, failed to intervene to

 prevent the abuse and failed to report misconduct to their superiors.and has failed to release the




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 names of his fellow officers involved in these events, including the beating, of which BRIGS has

 personal knowledge.

        190.    Defendant VILLAREAL, who, upon information and belief did not participate in

 the beating, was involved with and did participate in the continuing refusal to permit

 FONTANEZ and Vargas shower privileges to which they were entitled, trashed their cell or

 knew it was being trashed, failed to provide medical attention after beating plaintiff up, gave

 inaccurate, false or misleading evidence as to the beating and the cause of plaintiff’s actions,

 failed to intervene to prevent the abuse and failed to report misconduct to his superiors.

        191.    Defendant COLLINS, in addition to the above, chronically and continuously

 harassed the plaintiff, denied him shower privileges to which he was entitled, went to the supply

 cabinet to get the disinfectant, bleach and toxic substances which he used to destroy the

 habitability of FONTANEZ’s cell, by his actions instigated the incident that led to the beating,

 and refused to allow FONTANEZ to speak to a supervisor.

        192.    An inmate gave a statement that FONTANEZ and his cellmate had requested to

 speak to a supervisor about the situation to which Officer Collins replied “hell no,” after which

 the suited up and other officers arrived and commenced the attack on FONTANEZ.

        193.     CO POZO was a direct participant in the beating, retaliated against Plaintiff

 FONTANEZ for complaining about not obtaining his shower privileges, trashed his cell, failed

 to provide medical attention after beating plaintiff up and has failed to release the names of his

 fellow officers involved in these events, including the beating, of which CO POZO has personal

 knowledge.

       194.      CO COLLINS was a direct participant in the beating, retaliated against Plaintiff

 FONTANEZ for complaining about not obtaining his shower privileges, trashed his cell, failed



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 to provide medical attention after beating plaintiff up and has failed to release the names of his

 fellow officers involved in these events, including the beating, of which CO COLLINS has

 personal knowledge.

       195.      CO VICK was a direct participant in the beating, retaliated against Plaintiff

 FONTANEZ for complaining about not obtaining his shower privileges, trashed his cell, failed

 to provide medical attention after beating plaintiff up and has failed to release the names of his

 fellow officers involved in these events, including the beating, of which CO VICK has personal

 knowledge.

       196.     JOHN DOES 1-10 were direct participants in the beating, retaliated against

 Plaintiff FONTANEZ for complaining about not obtaining his shower privileges, trashed his cell,

 failed to provide medical attention after beating plaintiff up and have failed to release the names

 of their fellow officers involved in these events, including the beating, of which JOHN DOES 1-

 10 have personal knowledge.

        197.    In addition to the use of excessive force and misconduct aforedescribed, Plaintiff

 further alleges a conspiracy to cover up and deny Plaintiff FONTANEZ his First Amendment

 right to access to the courts as well as causing arbitrary and capricious charges to be brought and

 punishment meted out by failing to identify each officer involved in all incidents and events,

 including the subject beating, trashing of the cell, those involved in denying showering privileges

 without cause or basis and the failure to provide medical attention, as well as the failure to give

 plaintiff his recreation rights. by the filing of inaccurate, false and misleading official reports and

 interviews and failing to report employee and staff misconduct by the defendants

 CORRECTIONS OFFICERS and SUPERVISORY DEFENDANTS, each and every one of

 whom knew about the trashing of the cell and the complaints of FONTANEZ and his cellmate



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 and the inhabitability of the cell after disinfectant, bleach and other toxic chemicals and

 substances were poured all over it by defendant COLLINS, VILLAREAL and others, the use of

 excessive and unnecessary force in the handling of FONTANEZ and his cellmate, by permitting

 and allowing a false story to be concocted about why SGT. ROBINSON was unable to properly

 film the use of force and the incident and failing to report the precipitating cause as to why

 FONTANEZ and his cellmate refused to go back into their cell.

        198.    The direct and proximate result of the aforedescribed conspiracy and cover up, of

 which each individual CORRECTIONS OFFICER and SUPERVISORY OFFICER

 DEFENDANTS were aware, was that (1) Plaintiff FONTANEZ was charged without cause for

 internal violations of policy resulting in arbitrary punishment including Administrative

 Segregation and loss of privileges and (2) Plaintiff FONTANEZ has a reduced and more limited

 ability to effectively prove his claims asserted in this Complaint and present evidence as such was

 intentionally limited, avoided and/or destroyed.

        199.    These activities constitute violations of constitutional rights under the First, Fifth,

 Eighth and Fourteenth Amendments to the United States Constitution, along with the unlawful

 seizure under the Fourth Amendment for the use of excessive force.

 Common Allegations for both the Correction and Supervisory Defendants

        200.    Any officer engaged in this wrongdoing would know that he is violating the clearly

established rights of the plaintiff. In addition, the POLICYMAKER DEFENDANTS would

know that their actions in permitting and allowing unlawful conduct to exist and persist within the

jail without remediation or proper training and supervision would be substantially certain to lead

the misconduct alleged in this case and would violate the clearly established rights of the plaintiff.




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        201.    Each of these defendants individually knew that beating plaintiff unprovoked

without any need to control the prison population or stop violence is a clearly established violation

of the Fourth and Fourteenth Amendments.

        202.    Each of these defendants individually knew that retaliation against plaintiff for

 complaining about lack of shower privileges without cause or basis would be a violation of

 clearly established rights to be free of arbitrary and capricious action under the Fourteenth

 Amendment.

        203.    Each of these defendants individually knew that failing to provide needed medical

 attention after fracturing plaintiff’s leg among other injuries would be a violation of clearly

 established rights to be free from cruel and unusual punishment under the Eighth and/or

 Fourteenth Amendment and/or a violation of due process under the Fifth and Fourteenth

 Amendments.

        204.    Each of these defendants individually knew that covering up the use of excessive

 force, and not identifying all persons involved in the beating the trashing of the cell, retaliation,

 failure to provide medical attention and the provision of false, inaccurate and misleading reports

 and evidence as to the happening of the incident would be a violation of a clearly established right

 under the First Amendment to access to the courts and under the Fifth, Eighth and Fourteenth

 Amendments proscribing arbitrary punishment.

        205.    As a direct and proximate result of the violation of constitutional rights as

 aforedescribed by defendants HICKS, JOHNSON, GANGI, GEORGE ROBINSON, THE

 ADMINISTRATOR, LT. YOUSSEF,                    SGT. ADAMSON, SGT. HERNANDEZ, LT.

 SOBUN, SGT. ROBINSON, SGT. WILLIAMS,                      BRIGGS, POZO, COLLINS, VICK,

 VILLAREAL,         BALTIMORE,         O’NEILL,        SOLAZANO,        MASCHANG,           OLEKA,



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 SIMMONS, GALLAGHER, and JOHN DOES 1-10, plaintiff FONTANEZ has sustained

 serious, severe, and permanent personal and psychological injuries.

        206.   WHEREFORE, Plaintiff ANTHONY T. FONTANEZ demands judgment

 against defendants against Defendants, MARCUS O. HICKS, ESQ., COMMISSIONER OF

 THE NEW JERSEY STATE DEPARTMENT OF CORRECTIONS, in his official and

 individual capacities, FORMER NORTHERN STATE PRISON WARDEN STEVEN

 JOHNSON, in his official and individual capacities, ASSISTANT SUPERINTENDANT

 ANTHONY GANGI, in his official and individual capacities, NORTHERN STATE

 PRISON ADMINISTRATOR GEORGE ROBINSON, in his official and individual

 capacities, “JOHN DOE” ADMINISTRATOR of the NORTHERN SATE PRISON, in

 his/her official and individual capacities, LT. EMMANUEL YOUSSEF, in his official and

 individual capacities, SGT. PAUL ADAMSON, in his official and individual capacities,

 SGT. ERNESTO HERNANDEZ, in his official and individual capacities, LT. BRIAN

 SOBUN, in his official and individual capacities, SGT. QIANA ROBINSON, in her official

 and individual capacities, SGT. RICARDO WILLIAMS, in his official and individual

 capacities, CORRECTION OFFICER JEREMY BALTIMORE, in his official and

 individual capacities, CORRECTION OFFICER CARL O’NEILL, in his official and

 individual capacities, CORRECTION OFFICER KENNY SOLAZANO, in his official and

 individual capacities, CORRECTION OFFICER CESAR MASCHANG, in his official and

 individual capacities, CORRECTION OFFICER ERIC OLEKA, in his official and

 individual capacities,   CORRECTION OFFICER EDWIN SIMMONS, in his official and

 individual capacities, CORRECTION OFFICER WILLIAM GALLAGHER, in his official

 and individual capacities, CORRECTIONS OFFICER RONDELL BRIGGS, in his official



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 and individual capacities, CORRECTIONS OFFICER ALGENI POZO, in his official and

 individual capacities, CORRECTIONS OFFICER DARIUS COLLINS, in his official and

 individual capacities, CORRECTIONS OFFICER EUGENE VICK, in his official and

 individual capacities, CORRECTION OFFICER ROBERTO VILLAREAL, in his official

 and individual capacities and CORRECTIONS OFFICERS JOHN DOES 1-10 jointly and

 severally, for compensatory and punitive damages, interest, attorneys’ fees under 42 U.S.C.

 §1988 and costs of suit.

                                        SECOND COUNT
                             (42 U.S.C. §1983 for Failure to Intervene)

        207.    Plaintiff repeats and realleges each and every paragraph contained in this

 Complaint and incorporates same as if set forth fully herein at length.

        208.    The actions of the CORRECTION OFFICER DEFENDANTS BRIGGS,

 POZO, COLLINS, VICK, VILLAREAL, BALTIMORE, O’NEILL, SOLAZANO,

 MASCHANG, OLEKA, SIMMONS, GALLAGHER, SUPERVISORY DEFENDANTS LT.

 YOUSSEF, SGT.ADAMSON, SGT. HERNANDEZ, LT. SOBUN, SGT. ROBINSON, SGT.

 WILLIAMS and JOHN DOES 1-10 were taken under color of state law.

        209.    These defendants had a legal duty to protect FONTANEZ from harm.

        210.    These defendants failed to intervene, summon help or take other precautionary

 measures to prevent and/or stop any other Defendant from causing harm to FONTANEZ.

        211.    These defendants had the opportunity to intervene while FONTANEZ was being

 beaten as, with the exception of YOUSSEF they were all present during the beating and assault

 and, with the exception of YOUSSEF, VILLAREAL, SGT. ROBINSON and SGT.

 WILLIAMS, participated in it.

        212.    YOUSSEF, VILLAREAL, SGT. ROBINSON and SGT. WILLIAMS, however,

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 knew about the trashing of the cell, the disturbance resulting from it, were aware of the

 implementation of extraction teams and the substantial likelihood of violence and had a duty to

 intervene to stop it and the beating from occurring.

        213.    These defendants intentionally elected not to intervene.

        214.    Defendants     BRIGGS,        POZO,      COLLINS,          VICK,    VILLAREAL,

 BALTIMORE,          O’NEILL,       SOLAZANO,           MASCHANG,          OLEKA,    SIMMONS,

 GALLAGHER, LT. YOUSSEF, SGT. ADAMSON, SGT. HERNANDEZ, LT. SOBUN,

 SGT. ROBINSON, SGT. WILLIAMS and JOHN DOES 1-10 violated FONTANEZ’S rights

 under the Fourth, Fifth, Eighth and Fourteenth Amendments of the United States Constitution.

        215.    As a direct and proximate result of Defendants’ constitutional violations as

 aforedescribed, FONTANEZ sustained serious, severe and permanent injuries, both physical and

 psychological, as well as other damages.

        216.    By reason of the foregoing FONTANEZ has been damaged.

        217.    WHEREFORE, Plaintiff ANTHONY T. FONTANEZ demands judgment

 against defendants against Defendants LT. EMMANUEL YOUSSEF, in his official and

 individual capacities, SGT. PAUL ADAMSON, in his official and individual capacities,

 SGT. ERNESTO HERNANDEZ, in his official and individual capacities, LT. BRIAN

 SOBUN, in his official and individual capacities, SGT. QIANA ROBINSON, in her official

 and individual capacities, SGT. RICARDO WILLIAMS, in his official and individual

 capacities, CORRECTION OFFICER JEREMY BALTIMORE, in his official and

 individual capacities, CORRECTION OFFICER CARL O’NEILL, in his official and

 individual capacities, CORRECTION OFFICER KENNY SOLAZANO, in his official and

 individual capacities, CORRECTION OFFICER CESAR MASCHANG, in his official and



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 individual capacities, CORRECTION OFFICER ERIC OLEKA, in his official and

 individual capacities,     CORRECTION OFFICER EDWIN SIMMONS, in his official and

 individual capacities, CORRECTION OFFICER WILLIAM GALLAGHER, in his official

 and individual capacities, CORRECTIONS OFFICER RONDELL BRIGGS, in his official

 and individual capacities, CORRECTIONS OFFICER ALGENI POZO, in his official and

 individual capacities, CORRECTIONS OFFICER DARIUS COLLINS, in his official and

 individual capacities, CORRECTIONS OFFICER EUGENE VICK, in his official and

 individual capacities, CORRECTION OFFICER ROBERTO VILLAREAL, in his official

 and individual capacities and CORRECTIONS OFFICERS JOHN DOES 1-10 jointly and

 severally, for compensatory and punitive damages, interest, attorneys’ fees under 42 U.S.C.

 §1988 and costs of suit.

                                             THIRD COUNT
                               (N.J.S.A. 10:6-2:New Jersey Civil Rights Act)

        218.    Plaintiff repeats and realleges each and every paragraph contained in this

 Complaint and incorporates same as if set forth fully herein at length.

        219.    FONTANEZ has a state substantive due process liberty interest under the New

 Jersey State Constitution Article 1, §1 to be free from egregiously abusive physical conduct by

 law enforcement officers.

        220.    FONTANEZ had a right under the New Jersey State Constitution Article 1, §1 to

 be free from unreasonable seizures.

        221.    FONTANEZ had a right under the New Jersey State Constitution Article 1, §1 to

 be free of retaliation for requesting any benefits due to him, here the right to shower as an inmate,

 and to be free to pursue legal claims by accessing the court without impediment.

        222.    FONTANEZ had a right under the New Jersey Constitution, Article 1, §1 to be

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 free from arbitrary and capricious punishment based on false, misleading and inaccurate official

 reports, testimony and allegedly broken or malfunctioning equipment designed to capture the

 event.

          223.   Defendants’ actions were taken under color of state law.

          224.   Defendants, to the same extent and pursuant to the same facts as set forth in the

 First Count herein and the Factual Allegations contained herein, individually and through their

 agents, servants and employees, and by their deliberate indifference to the civil rights of

 FONTANEZ as previously detailed, deprived FONTANEZ of his rights, privileges and

 immunities secured under Article I, ¶1 of the New Jersey State Constitution and under N.J.S.A.

 10:6-2, the New Jersey Civil Rights Act (the “NJCRA”).

          225.   Defendants acted pursuant to official or unofficial policy and/or custom to deprive

 FONTANEZ of his constitutional rights by actions that were willful, deliberate and malicious.

          226.   By reason of the foregoing, Defendants violated the civil rights of FONTANEZ.

          227.   As a direct and proximate result of Defendants’ constitutional violations as

 aforedescribed, FONTANEZ sustained serious, severe and permanent injuries, both physical and

 psychological, as well as other damages.

          228.    By reason of the foregoing FONTANEZ has been damaged.

          229.   WHEREFORE, Plaintiff ANTHONY T. FONTANEZ demands judgment

 against defendants against Defendants, MARCUS O. HICKS, ESQ., COMMISSIONER OF

 THE NEW JERSEY STATE DEPARTMENT OF CORRECTIONS, in his official and

 individual capacities, FORMER NORTHERN STATE PRISON WARDEN STEVEN

 JOHNSON, in his official and individual capacities, ASSISTANT SUPERINTENDANT

 ANTHONY GANGI, in his official and individual capacities, NORTHERN STATE



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 PRISON ADMINISTRATOR GEORGE ROBINSON, in his official and individual

 capacities, “JOHN DOE” ADMINISTRATOR of the NORTHERN SATE PRISON, in

 his/her official and individual capacities, LT. EMMANUEL YOUSSEF, in his official and

 individual capacities, SGT. PAUL ADAMSON, in his official and individual capacities,

 SGT. ERNESTO HERNANDEZ, in his official and individual capacities, LT. BRIAN

 SOBUN, in his official and individual capacities, SGT. QIANA ROBINSON, in her official

 and individual capacities, SGT. RICARDO WILLIAMS, in his official and individual

 capacities, CORRECTION OFFICER JEREMY BALTIMORE, in his official and

 individual capacities, CORRECTION OFFICER CARL O’NEILL, in his official and

 individual capacities, CORRECTION OFFICER KENNY SOLAZANO, in his official and

 individual capacities, CORRECTION OFFICER CESAR MASCHANG, in his official and

 individual capacities, CORRECTION OFFICER ERIC OLEKA, in his official and

 individual capacities,     CORRECTION OFFICER EDWIN SIMMONS, in his official and

 individual capacities, CORRECTION OFFICER WILLIAM GALLAGHER, in his official

 and individual capacities, CORRECTIONS OFFICER RONDELL BRIGGS, in his official

 and individual capacities, CORRECTIONS OFFICER ALGENI POZO, in his official and

 individual capacities, CORRECTIONS OFFICER DARIUS COLLINS, in his official and

 individual capacities, CORRECTIONS OFFICER EUGENE VICK, in his official and

 individual capacities, CORRECTION OFFICER ROBERTO VILLAREAL, in his official

 and individual capacities and CORRECTIONS OFFICERS JOHN DOES 1-10 jointly and

 severally, for compensatory and punitive damages, interest, attorneys’ fees under 42 U.S.C.

 §1988 and costs of suit.

                                    FOURTH COUNT
                                       (Negligence)

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        230.    Plaintiff repeats and realleges each and every allegation contained in this

 Complaint as if set forth fully herein at length.

        231.    At all relevant times herein Defendants were under a duty to act reasonably in the

 performance of their duties as administrators, wardens, supervisors, and corrections officers in the

 control, maintenance, operation, handling and management of the jail and correctional facilities

 and in the provision of medical care and treatment, in properly supervising and monitoring

 FONTANEZ, in following and promulgating appropriate policies and procedures with respect to

 excessive force, the rendering of medical services, the filing of official reports and reporting

 misconduct, and to intervene to avoid and prevent physical and psychological harm to prisoners

 from occurring, and in providing proper training to those with the responsibility for the care and

 management of those under custodial or hospital care.

        232.    All Defendants were under a duty to take proper action to avoid abuse and the use

 of excessive force.

        233.    In particular, the POLICYMAKER DEFENDANTS HICKS, JOHNSON,

 GANGI, GEORGE ROBINSON, the ADMINISTRATOR and JOHN DOES 1-10 had a duty

 of reasonable care in the hiring, training, supervision and oversight of its corrections officers and

 to ensure that their subordinates did not harm inmates, including plaintiff FONTANEZ as well as

 in their promulgation and enforcement of policies designed to ensure inmate safety.

        234.    In particular, defendants YOUSSEF, ADAMSON, HERNANDEZ, SOBUN,

 SGT.    ROBINSON,         SGT.     WILLIAMS,             BALTIMORE,    O’NEILL,       SOLAZANO,

 MASCHANG, OLEKA, SIMMONS, GALLAGHER, VILLAREAL, BRIGGS, POZO,

 COLLINS, CO VICK and JOHN DOES 1-10 had a duty of reasonable care in the handling and




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 oversight of inmates, to ensure their safety and that they remain free from harm and protected

 from harm, including plaintiff FONTANEZ.

        235.    All Defendants, having undertaken a duty to house and care for inmates, were

 obligated to have performed their duties reasonably and so as to not cause any physical or

 psychological harm to inmates, including FONTANEZ.

        236.    The POLICYMAKER DEFENDANTS and JOHN DOES 1-10 breached their

 duty of care and were each negligent and careless in their failure to properly hire, retain, train,

 discipline and supervise correctional officers, staff, employees, agents, and servants with respect

 to the use of force, retaliation, medical attention and conspiracy/cover up and in their failure to

 properly implement, enact, enforce, follow and maintain proper protocol, policy, procedures, rules

 and guidelines; in their failure to intervene to prevent the use of excessive force, retaliation, and

 interference with provision of medical care to FONTANEZ and other abuses as described in this

 complaint, in their failure to prevent the harm, in their failure to manage and operate their

 facilities in a reasonable manner so as to prevent the subject incident, and were negligent and

 careless in the performance of their duties, to which no immunity applies.

        237.    Defendants      YOUSSEF,       ADAMSON,          HERNANDEZ,           SOBUN,       SGT.

 ROBINSON, SGT. WILLIAMS, BALTIMORE, O’NEILL, SOLAZANO, MASCHANG,

 OLEKA, SIMMONS, GALLAGHER, VILLAREAL, BRIGGS, POZO, COLLINS, VICK

 and JOHN DOES 1-10 were each negligent and careless in failing to follow policies and

 procedures, in their use of force, failure to provide medical attention, failure to give plaintiff his

 shower privileges, trashing his cell, in failing to identify all officers involved in the subject events

 in failing to provide accurate official reports and evidence, in failing to properly record and film

 the incident/extraction, in inappropriately charging plaintiff with administrative violations and



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 imposing punishment and were negligent and careless in the performance of their ministerial

 duties, to which no immunity applies.

        238.    The actions of Defendants did not involve the exercise of professional judgment or

 discretion.

        239.    The personal injuries and damages suffered by FONTANEZ were caused solely as

 a result of the negligence and carelessness of Defendants, individually and collectively.

        240.    As a direct and proximate result of Defendants’ negligence as aforedescribed,

 FONTANEZ sustained serious, severe and permanent injuries, both physical and psychological,

 as well as other damages.

        241.    By reason of the foregoing FONTANEZ has been damaged.

        242.    All conditions precedent to filing suit under Title 59 have been met, including

 medical expense limits, objective permanent injury and the filing of notices of claims.


        243.    WHEREFORE, Plaintiff ANTHONY T. FONTANEZ demands judgment

 against defendants against Defendants, MARCUS O. HICKS, ESQ., COMMISSIONER OF

 THE NEW JERSEY STATE DEPARTMENT OF CORRECTIONS, in his official and

 individual capacities, FORMER NORTHERN STATE PRISON WARDEN STEVEN

 JOHNSON, in his official and individual capacities, ASSISTANT SUPERINTENDANT

 ANTHONY GANGI, in his official and individual capacities, NORTHERN STATE

 PRISON ADMINISTRATOR GEORGE ROBINSON, in his official and individual

 capacities, “JOHN DOE” ADMINISTRATOR of the NORTHERN SATE PRISON, in

 his/her official and individual capacities, LT. EMMANUEL YOUSSEF, in his official and

 individual capacities, SGT. PAUL ADAMSON, in his official and individual capacities,

 SGT. ERNESTO HERNANDEZ, in his official and individual capacities, LT. BRIAN


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 SOBUN, in his official and individual capacities, SGT. QIANA ROBINSON, in her official

 and individual capacities, SGT. RICARDO WILLIAMS, in his official and individual

 capacities, CORRECTION OFFICER JEREMY BALTIMORE, in his official and

 individual capacities, CORRECTION OFFICER CARL O’NEILL, in his official and

 individual capacities, CORRECTION OFFICER KENNY SOLAZANO, in his official and

 individual capacities, CORRECTION OFFICER CESAR MASCHANG, in his official and

 individual capacities, CORRECTION OFFICER ERIC OLEKA, in his official and

 individual capacities,     CORRECTION OFFICER EDWIN SIMMONS, in his official and

 individual capacities, CORRECTION OFFICER WILLIAM GALLAGHER, in his official

 and individual capacities, CORRECTIONS OFFICER RONDELL BRIGGS, in his official

 and individual capacities, CORRECTIONS OFFICER ALGENI POZO, in his official and

 individual capacities, CORRECTIONS OFFICER DARIUS COLLINS, in his official and

 individual capacities, CORRECTIONS OFFICER EUGENE VICK, in his official and

 individual capacities, CORRECTION OFFICER ROBERTO VILLAREAL, in his official

 and individual capacities and CORRECTIONS OFFICERS JOHN DOES 1-10 jointly and

 severally, for compensatory and punitive damages, interest, attorneys’ fees under 42 U.S.C.

 §1988 and costs of suit.

                                               FIFTH COUNT
                                (Intentional Infliction of Emotional Distress)

        244.     Plaintiff repeats and realleges each and every allegation contained in this

 Complaint as if set forth fully herein at length.

        245.    Defendants CORRECTIONS DEFENDANTS CO YOUSSEF, ADAMSON,

 HERNANDEZ, SOBUN, SGT. ROBINSON, SGT. WILLIAMS, BALTIMORE, O’NEILL,

 SOLAZANO,         MASCHANG,          OLEKA,         SIMMONS,   GALLAGHER,       VILLAREAL,

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 BRIGGS, POZO, COLLINS, VICK and JOHN DOES 1-10 whose individual actions are

 detailed in this complaint, engaged in actions intended to inflict severe emotional trauma upon

 FONTANEZ, and did so.

       246.     The emotional distress was severe and outrageous.

       247.     The emotional distress was of such character that no reasonable person could be

 expected to endure it.

       248.     In particular, FONTANEZ was subjected by these defendants to a brutal assault,

 intentionally ruining his cell with noxious fumes and destroying it so FONTANEZ could not

 safely return or enter it, a conspiracy to suit up and cover their identities in order to commence the

 beating, spoil and avoid the taking of critical evidence, filing inaccurate, misleading and false

 reports and evidence and otherwise subjected FONTANEZ to injuries and damages which were

 intentional and meant to inflict both severe as well as emotional and psychological trauma.

       249.     By reason of the aforesaid intentional emotional distress, FONTANEZ was caused

 to suffer pain, suffering, humiliation, embarrassment and anguish, all to his damage.

        250.    By reason of the foregoing FONTANEZ has been damaged.

        251.    WHEREFORE, Plaintiff ANTHONY T. FONTANEZ demands judgment

 against defendants against Defendants LT. EMMANUEL YOUSSEF, in his official and

 individual capacities, SGT. PAUL ADAMSON, in his official and individual capacities,

 SGT. ERNESTO HERNANDEZ, in his official and individual capacities, LT. BRIAN

 SOBUN, in his official and individual capacities, SGT. QIANA ROBINSON, in her official

 and individual capacities, SGT. RICARDO WILLIAMS, in his official and individual

 capacities, CORRECTION OFFICER JEREMY BALTIMORE, in his official and

 individual capacities, CORRECTION OFFICER CARL O’NEILL, in his official and



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 individual capacities, CORRECTION OFFICER KENNY SOLAZANO, in his official and

 individual capacities, CORRECTION OFFICER CESAR MASCHANG, in his official and

 individual capacities, CORRECTION OFFICER ERIC OLEKA, in his official and

 individual capacities,     CORRECTION OFFICER EDWIN SIMMONS, in his official and

 individual capacities, CORRECTION OFFICER WILLIAM GALLAGHER, in his official

 and individual capacities, CORRECTIONS OFFICER RONDELL BRIGGS, in his official

 and individual capacities, CORRECTIONS OFFICER ALGENI POZO, in his official and

 individual capacities, CORRECTIONS OFFICER DARIUS COLLINS, in his official and

 individual capacities, CORRECTIONS OFFICER EUGENE VICK, in his official and

 individual capacities, CORRECTION OFFICER ROBERTO VILLAREAL, in his official

 and individual capacities and CORRECTIONS OFFICERS JOHN DOES 1-10 jointly and

 severally, for compensatory and punitive damages, interest, attorneys’ fees under 42 U.S.C.

 §1988 and costs of suit.

                                      SIXTH COUNT
                                   (Assault and Battery)

         252.    Plaintiff repeats and realleges each and every allegation in the Complaint as if set

 forth fully herein at length.

         253.    As set forth in detail above, FONTANEZ was subjected to the use of excessive

 force, including force that resulted multiple rib fractures, a broken nose and a broken leg.

         254.    The beating that comprised the excessive force and caused the foregoing injuries

 meets the definition of assault and battery under New Jersey common law and the criminal code.

         255.    As a direct and proximate result of the assault and battery, FONTANEZ was

 caused to be placed in fear of physical harm and was subjected to physical harm.

         256.    The aforedescribed damages and injuries were caused solely and wholly by the

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 intentional and willful assault and battery by ADAMSON, HERNANDEZ, SOBUN,

 BALTIMORE,         O’NEILL,       SOLAZANO,          MASCHANG,          OLEKA,          SIMMONS,

 GALLAGHER, VILLAREAL, BRIGGS, POZO, COLLINS, VICK and JOHN DOES 1-1

        257.    As a direct and proximate result of defendants’ assault and battery as

 aforedescribed, FONTANEZ sustained serious, severe and permanent injuries, both physical and

 psychological, as well as other damages.


        258.   WHEREFORE, Plaintiff ANTHONY T. FONTANEZ demands judgment

 against defendants SGT. PAUL ADAMSON, in his official and individual capacities, SGT.

 ERNESTO HERNANDEZ, in his official and individual capacities, LT. BRIAN SOBUN, in

 his official and individual capacities, CORRECTION OFFICER JEREMY BALTIMORE,

 in his official and individual capacities, CORRECTION OFFICER CARL O’NEILL, in his

 official and individual capacities, CORRECTION OFFICER KENNY SOLAZANO, in his

 official and individual capacities, CORRECTION OFFICER CESAR MASCHANG, in his

 official and individual capacities, CORRECTION OFFICER ERIC OLEKA, in his official

 and individual capacities,    CORRECTION OFFICER EDWIN SIMMONS, in his official

 and individual capacities, CORRECTION OFFICER WILLIAM GALLAGHER, in his

 official and individual capacities, CORRECTIONS OFFICER RONDELL BRIGGS, in his

 official and individual capacities, CORRECTIONS OFFICER ALGENI POZO, in his

 official and individual capacities, CORRECTIONS OFFICER DARIUS COLLINS, in his

 official and individual capacities, CORRECTIONS OFFICER EUGENE VICK, in his

 official and individual capacities and CORRECTIONS OFFICERS JOHN DOES 1-10

 jointly and severally, for compensatory and punitive damages, interest, attorneys’ fees under 42

 U.S.C. §1988 and costs of suit.


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                                         SEVENTH COUNT
                                       (common law conspiracy)


        259.     Plaintiff repeats and realleges each and every paragraph contained in this

 Complaint and incorporates same as if set forth fully herein at length.

        260.     Defendants both the POLICYMAKER DEFENDANTS HICKS, JOHNSON,

 JOHN DOES 1-10 and the YOUSSEF, ADAMSON, HERNANDEZ, SOBUN, SGT.

 ROBINSON, SGT. WILLIAMS, BALTIMORE, O’NEILL, SOLAZANO, MASCHANG,

 OLEKA, SIMMONS, GALLAGHER, VILLAREAL, BRIGGS, POZO, COLLINS, VICK

 and JOHN DOES 1-10, each and every one of them, did conspire, act in concert together, and

 agree among themselves to cause injury and damage to and commit unlawful acts against plaintiff

 by failing to disclose the names and identities of those officers involved in the initial refusal to

 grant shower privileges, those officers involved in destroying and trashing plaintiff’s cell, the

 beating and the failure to provide medical attention, in engaging in a cover-up of the beating, in

 concocting a false version of events as to the operation of the cameras which were supposed to be

 filming the extraction/incident and in the filing of false, inaccurate or misleading official reports

 and evidence. as well as refuse and fail to release the SID Investigation into the subject incident

 and the results thereof.

        261.     Each of the above mentioned defendants understood the objectives of the

 conspiracy scheme and accepted them, and agreed, implicitly or explicitly, to each do his part to

 further them.

        262.     The purpose of the conspiracy was to deny or limit plaintiff’s ability to proffer

 truthful evidence from the officers regarding misconduct thus reducing the value of this case, to




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 permit him to be punished and to hide or obfuscate the use of excessive force and limit his ability

 to present a full and complete excessive force claim against those who beat and assaulted him.

        263.    By reason of the foregoing, and as a direct and proximate result of the conspiracy

 of, and the actions of the Defendants, Plaintiffs suffered damages, including improper charges and

 punishment, severe emotional distress, loss of reputation and loss of the ability to effectively

 pursue litigation and hold defendants accountable.

        264.    In addition, Defendants ADAMSON, HERNANDEZ, SOBUN, BALTIMORE,

 O’NEILL,       SOLAZANO,         MASCHANG,            OLEKA,      SIMMONS,         GALLAGHER,

 VILLAREAL, BRIGGS, POZO, COLLINS, VICK and JOHN DOES 1-10, conspired

 amongst and between themselves by using a code or other form of communication to beat and

 assault the plaintiff, to “teach him a lesson” for complaining, and to cause serious harm.

        265.    Each defendant understood the means, the terms and the purposes of the

 conspiracy.

        266.    By reason of the foregoing, Plaintiff has been damaged.

        267.    WHEREFORE, Plaintiff ANTHONY T. FONTANEZ demands judgment

 against defendants against Defendants LT. EMMANUEL YOUSSEF, in his official and

 individual capacities, SGT. PAUL ADAMSON, in his official and individual capacities,

 SGT. ERNESTO HERNANDEZ, in his official and individual capacities, LT. BRIAN

 SOBUN, in his official and individual capacities, SGT. QIANA ROBINSON, in her official

 and individual capacities, SGT. RICARDO WILLIAMS, in his official and individual

 capacities, CORRECTION OFFICER JEREMY BALTIMORE, in his official and

 individual capacities, CORRECTION OFFICER CARL O’NEILL, in his official and

 individual capacities, CORRECTION OFFICER KENNY SOLAZANO, in his official and



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